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AO 91 (Rev. 08/09} Criminal Complaint

 

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‘United States District Coud —
UNITED STATES DISTRICT COURT — 4hST Aso e

for the APR OF 7018
Southern District of Texas os

David J. Bradley, Clerk

case No. AA- 1g-0 FO o-M

United States of America

Vv.
Mario Edel SENTENO
DOB: 1978
U.S.C.

Defendant(s)

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CRIMINAL COMPLAINT

I, the complainant in this-case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of 11/17/2017 in the county of Hidalgo in the
Southern _ District of Texas _ , the defendant(s) violated:
Code Section Offense Description
- 18 USC 922(g)(1) possession of a firearm or ammunition, which has affected
interstate commerce, by an individual having been convicted of a
felony

This criminal complaint is based on these facts:

See Attachment A

wf Continued on the attached sheet.

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ivarez - ATF Special Agent

Printed name and title

 

Sworn to before me and signed in my presence.

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Judge’s signature

City and state: McAllen. Texas : U.S. Magistrate Peter E. Ormsby

Printed name and title
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~ ATTACHMENT A

I, Special Agent Jorge Olivarez, affiant, do hereby depose and state the following:
Iam a Special Agent of the United States Department of Justice, Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF). I have been a law enforcement
officer since April 2006. |

1. My duties include the investigation of violations of Federal firearms laws. I
know it to be unlawful for any person who has been convicted of a crime
punishable by more than one year in prison to possess a firearm.

2. On Friday, November 17, 2017, ATF Special Agents (SAs), assisted Texas
Department of Public Safety (DPS), Criminal Investigation Division (CID),
Agents, with the execution of State Search Warrant of Mario Edel SENTENO's
‘(hereinafter referred to as “SENTENO”), residence located at 900 E. Daffodil Ave.,
Apt B, in McAllen, Texas. As a result of this search warrant, SENTENO was
found to be in possession of a FEG, Model SA2000M, 7.62x39mm Caliber, SN:
_EDS5003H, AK-47 variant firearm and forty-one (41) rounds of 7.62x39mm caliber
ammunition.

3. On Friday, November 17, 2017, SENTENO was detained by DPS CID Agents.
During a post-Miranda interview, SENTENO admitted to possessing the
aforementioned firearm and ammunition. During the execution of the search

warrant, the aforementioned firearm and ammunition were recovered from
SENTENO's bedroom closet.

4. The firearm and ammunition was found to be manufactured outside of Texas and
affected interstate or foreign commerce. The firearm and ammunition are involved
in a violation of 18 USC § 922(g)(1). The firearm and ammunition are subject to
forfeiture under 18 USC § 924(d).
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ATTACHMENT A

5. In 2004, SENTENO was convicted of Possession With Intent to Deliver a
Controlled Substance, To Wit: Cocaine, in an amount of four (4) grams or more,
but less than two hundred (200) grams in the 370th Judicial District Court of
Hidalgo County, Texas (CR-1366-04-G). SENTENO was sentenced to five (5)
years community supervision. SENTENO is prohibited from possessing a firearm
having been convicted of a criminal offense with a punishment greater than one
year.

 

 

Sworn to before me and subscribed in my presence,

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U.S. Magistrate Peter E. Ormeby Date
